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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
  UNITED STATES, et al.,                       )
                                               )
                        Plaintiffs,            )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                        Defendant.             )



                PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Pursuant to Local Civil Rule 5(C), the Protective Order (ECF No. 98 and Modified

  Protective Order, ECF No. 203) and the Court’s order on an extension of time to respond to

  motions to seal exhibits, ECF No. 621, Plaintiffs, through their undersigned counsel, hereby

  respectfully move this Court to seal portions of and some exhibits to Plaintiffs’ Reply in Support

  of Their Motion to Exclude Opinions of Itamar Simonson and Related Opinions of Mark Israel.

  The redacted portions contain material that Google has designated as highly confidential or

  Confidential. Consistent with the local rule and this Court’s Electronic Case Filing Policies and

  Procedures, undersigned counsel have filed the materials at issue using the sealed filing event on

  CM/ECF and hereby certify that they will serve a copy on opposing counsel and deliver a copy

  to this Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

  contained in the memorandum of law concurrently filed in support of this motion. A proposed

  order is attached for the Court’s convenience.
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  Dated: May 31, 2024



  Respectfully submitted,

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